USCA Case #23-3190          Document #2025399              Filed: 11/03/2023   Page 1 of 2



                  United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
No. 23-3190                                                 September Term, 2023
                                                                      1:23-cr-00257-TSC-1
                                                       Filed On: November 3, 2023
United States of America,

               Appellee

        v.

Donald J. Trump,

               Appellant


        BEFORE:       Millett, Pillard, and Garcia, Circuit Judges

                                         ORDER

       Upon consideration of the emergency motion for a stay pending appeal, which
includes requests for an administrative stay and to expedite the appeal, it is

       ORDERED that the district court’s October 17, 2023, order be administratively
stayed pending further order of the court. The purpose of this administrative stay is to
give the court sufficient opportunity to consider the emergency motion for a stay
pending appeal and should not be construed in any way as a ruling on the merits of that
motion. See D.C. Circuit Handbook of Practice and Internal Procedures 33 (2021). It is

      FURTHER ORDERED that this appeal be expedited. The following briefing
schedule will apply:

        Appellant’s Brief                         November 8, 2023, at 5:00 p.m.

        Joint Appendix                            November 8, 2023, at 5:00 p.m.

        Appellee’s Brief                          November 14, 2023, at 5:00 p.m.

        Reply Brief                               November 17, 2023, at 12:00 noon

It is
USCA Case #23-3190         Document #2025399              Filed: 11/03/2023      Page 2 of 2



                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 23-3190                                                September Term, 2023

      FURTHER ORDERED that this case be scheduled for oral argument before this
panel on November 20, 2023, at 9:30 a.m.

      A separate order will be issued regarding the allocation of time for argument.

       Appellant should raise all issues and arguments in the opening brief. The court
ordinarily will not consider issues and arguments raised for the first time in the reply
brief.

       To enhance the clarity of their briefs, the parties are urged to limit the use of
abbreviations, including acronyms. While acronyms may be used for entities and
statutes with widely recognized initials, briefs should not contain acronyms that are not
widely known. See D.C. Circuit Handbook of Practice and Internal Procedures 43
(2021); Notice Regarding Use of Acronyms (D.C. Cir. Jan. 26, 2010).

       All briefs and appendices must contain the date that the case is scheduled for
oral argument at the top of the cover. See D.C. Cir. Rule 28(a)(8).

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Lynda M. Flippin
                                                         Deputy Clerk




                                          Page 2
